Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page1of21

Jester & Williams

P.O. Box 1165
Great Falls, VA 22066

Invoice submitted to:

Arron Finkhousen, Esq.
Office of the Attorney General
441 4th St., NW
Washington, D.C. 20001

June 11, 2018

In Reference To: Anissa Jones v. District of Columbia

Case # 2015-CV-1505 (BAH/GMH)

Invoice #10910

Professional Services

Hours Amount

11/13/2014 Phone consult with W. Williams, Esgq., Case information/status 0.20 104.00
Correspondence to W. Williams, Esq., Case information/status 0.20 104.00
11/16/2014 Review correspondence from W. Williams, Esq., Case status 0.20 104.00
Review report from court ordered psychoeducational evaluation 0.40 208.00
12/1/2014 Phone consult with with A. Jones, parent re: School issues and need for special 0.40 208.00
education services
1/1/2015 Review correspondence from D. Lyons, Stanton ES 0.20 104.00
Review updated IEP and Behavioral! Plan from D. Lyons, Stanton ES 0.40 208.00
1/13/2015 Correspondence to A. Jones, parent re: IEP meeting 0.30 156.00
Review and respond to correspondence from D. Lyons, Stanton ES re: IEP 0.20 104.00
meeting
1/19/2015 Phone consult with A. Jones, parent re: Case issues and upcoming school/IEP 0.20 104.00
meeting
Correspondence to D. Lyons, Stanton ES re: Upcoming school/IEP meeting 0.20 104.00
1/21/2015 Review and respond to correspondence from D. Lyons, Stanton ES re: IEP 0.20 104.00
meeting

PLAINTIFF’S
EXHIBIT

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Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 2of 21

Arron Finkhousen, Esq. Page 2

Hours Amount

1/21/2015 Phone consult with A. Jones, parent re: IEP meeting 0.20 104.00
Correspondence to D. Lyons, Stanton ES re: IEP meeting 0.20 104.00
1/27/2015 Phone consult with A. Jones, parent re: School issues 0.30 156.00
Correspondence to D. Lyons, Stanton ES re: Need for copy of IEP and paper 0.20 104.00
work from IEP meeting
Review correspondence from D. Lyons, Stanton ES re: Need for copy of draft 0.20 104.00
IEP
Correspondence to A. Jones, parent re: Report from court ordered 0.30 156.00
psychoeducational evaluation
2nd correspondence to D. Lyons, Stanton ES re: Report from court ordered 0.30 156.00
psychoeducational evaluation
4/7/2015 Review and respond to correspondence from D. Lyons, Stanton ES re: 0.20 104.00
Manifestation meeting
4/9/2015 Phone consult with A. Jones, parent re: Manifestation meeting at Stanton ES and 0.30 156.00
recent suspension
Correspondence to D. Lyons, Stanton ES re: Manifestation meeting 0.20 104.00
4/16/2015 Correspondence to D. Lyons, Stanton ES re: Records from manifestation 0.30 156.00
meeting and request for independent evaluation
4/17/2015 Review correspondence from R. Johnson, principal re: Need for evaluations 0.20 104.00
Review multiple correspondence from D. Fells Pleasant re: Manifestation review 0.30 156.00
4/23/2015 Correspondence to D. Fells Pleasant, Stanton ES re: Consent to evaluate 0.20 104.00
4/24/2015 Review and respond to correspondence from R. Johnson, principal Stanton ES 0.30 156.00
re: Need for evaluation
Correspondence to Stanton ES re: Inaccuracies and omissions in manifestation 0.20 104.00
paperwork
Draft and finalize Due Process Complaint Notice 3.80 1,976.00
Phone consult with A. Jones, parent re: New suspension 0.30 156.00
4/25/2015 Phone consult with A. Jones, parent re: Due Process Complaint and case issues 0.30 156.00
Review muitiple correspondence from D. Lyons, Stanton ES re: Evaluations 0.30 156.00

DCPS is proposing to conduct
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 3of 21

Arron Finkhousen, Esq.

4/27/2015

4/28/2015

4/30/2015

5/1/2015

5/4/2015

5/5/2015
5/6/2015

Review and respond to correspondence from C. Carron, Hearing Officer re:
Hearing date

Review and respond to correspondence from T. Chor, Esq., DCPS re: Hearing
date

Correspondence to R. Johnson, principal Stanton ES re: Need for corrected
paper work from manifestation meeting to reflect that conduct was a
manifestation of child's disability

Phone consult with A. Jones, parent re: DCPS report to Child Protective Services
in retaliation for filing Due Process Complaint

Correspondence to R. Johnson, principal Stanton ES re: DCPS retaliation for
parent filing Due Process Complaint

Review correspondence from T. Chor, Esq., DCPS re: DCPS complaint to Child
Protective Services in retaliation for parent filing Due Process Complaint

Review multiple correspondence from T. Chor, Esq., DCPS re: Scheduling of
hearing/witness availability

Review Notice of Appointment of Hearing Officer

Review correspondence from C. Carron, Hearing Officer re: Case
status/procedures

Review notice of Pre-Hearing Conference and Notice of Restricted Filings from
C. Carron, Hearing Officer

Review correspondence from T. Chor, Esq., DCPS and C. Carron, Hearing
Officer re. Due Process Hearing date/time

Phone consult with A. Jones, parent re: Request from D. Lyons, Stanton ES for
parent consent to DCPS proposed IEP amendment

Correspondence to D. Lyons, Stanton ES re: School proposed amendment to
IEP

Review DCPS' Answer to Due Process Complaint
Review correspondence from D. Lyons, Stanton ES re: IEP meeting

Correspondence to T. Chor, Esq., DCPS and C. Carron, Hearing Officer re:
Case status

Review resolution disposition form from K. McFarland, DCPS CCM
Review correspondence from K. McFarland, DCPS CCM re: Case status

Meeting with A. Jones, parent re: Case status

Page 3
Hours Amount
0.20 104.00
0.20 104.00
0.20 104.00
0.30 156.00
0.30 156.00
0.20 104.00
0.20 104.00
0.20 104.00
0.40 208.00
0.20 104.00
0.20 104.00
0.20 104.00
0.20 104.00
0.30 156.00
0.20 104.00
0.20 104.00
0.20 104.00
0.20 104.00
0.30 156.00
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page4of 21

Arron Finkhousen, Esq.

6/11/2015

5/12/2015

5/13/2015

5/14/2015

5/18/2015

Review correspondence from C. Carron, Hearing Officer re: Pre-hearing
conference

Review 2nd correspondence from C. Carron, Hearing Officer re: Discrepancies
in student's DOB and DCPS ID numbers

Review amended answer to Due Process Complaint from T. Chor, Esq., DCPS
re: Incorrect DOB

Phone consult with A. Jones, parent re: Recent suspension
Correspondence to R. Johnson, principal Stanton ES re: Recent suspension

Review and respond to correspondence from R. Johnson, principal Stanton ES
re: Recent suspension

Review suspension paper work from 5/7 suspension
Review file to prepare for pre-hearing conference with C. Carron, Hearing Officer

Review lengthy correspondence from C. Carron, Hearing Officer re: Pre-hearing
issues

Attend pre-hearing conference via phone
Review correspondence from D. Lyons, Stanton ES re: Manifestation meeting

Phone conference with A. Jones, parent re: Availability to attend manifestation
meeting

Correspondence to D. Lyons, Stanton ES re: Manifestation meeting
Review file to prepare for manifestation meeting
Attend manifestation meeting at Stanton ES

Travel to/from office/Stanton Elementary Schoo! to attend manifestation meeting
(travel billed at 50% of hourly rate)

Review correspondence from T. Parker, Foundation School re: Potential
placement

Correspondence to T. Chor, Esq., DCPS re: Student's acceptance at Foundation
School

Correspondence to T. Parker, Foundation Schoo! re: Placement and hearing
availability

Review and respond to correspondence from T. Parker, Foundation School re:
Hearing availability

Page 4
Hours Amount
0.20 104.00
0.20 104.00
0.20 104.00
0.30 156.00
0.30 156.00
0.20 104.00
0.20 104.00
0.60 312,00
0.40 208.00
1.00 520.00
0.20 104.00
0.20 104.00
0.20 104.00
0.40 208.00
1.70 884.00
2.00 520.00
0.30 156.00
0.20 104.00
0.20 104.00
0.20 104.00
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page5of 21

Arron Finkhousen, Esq.

5/18/2015

5/20/2015

5/24/2015

§/26/2015

6/27/2015

5/28/2015

6/29/2015

Review Prehearing Order from C. Carron, Hearing Officer

Phone consult with T. Pinkett family support worker re: Hearing issues
Draft and finalize Petitioner's Objections to Pre-Hearing Order

Phone consult with Dr. Woodland re: Hearing preparation/availability

Correspondence to D. Lyons, Stanton ES re: Need for documents from
manifestation meeting

Review correspondence from K. McFarland, DCPS CCM re: DCPS proposed
settlement agreement

Review correspondence from C. Dorn, school psychologist re: Student's disability
as manifestation of his disability

Review settlement proposal from K. McFarland, DCPS CCM

Correspondence to A. Jones, parent re: Settlement proposal from K. McFarland,
DCPS CCM

Begin preparing hearing disclosure materials
Review Manifestation Determination Report from C. Dorn, schoo! psychologist

Review correspondence and amended Prehearing Order from C. Carron,
Hearing Officer

Correspondence to T. Chor, Esq., DCPS re: Date for 2nd day of hearing

Review and respond to correspondence from T. Chor, Esq., DCPS re: 2nd
hearing date

Review DCPS' 5 day disclosure materials

Continue preparing, drafting, and finalizing Petitioner's 5 day disclosure materials
with exhibits

Correspondence to T. Parker, Foundation School with hearing exhibits per
Prehearing Order from C. Carron Hearing Officer

Review and respond to correspondence from C. Carron, Hearing Officer re; 2nd
day of hearing

Review and respond to 2nd correspondence from C. Carron, Hearing Officer re:
2nd day of hearing

Review correspondence from T. Chor, Esq. DCPS re: Availability of DCPS
witness for 2nd day of hearing

Page 5
Hours Amount
0.70 364.00
0.20 104.00
0.80 416.00
0.30 156.00
0.30 156.00
0.20 104.00
0.20 104.00
0.30 156.00
0.30 156.00
6.40 3,328.00
0.40 208.00
0.30 156.00
0.20 104.00
0.20 104,00
1.20 624.00
4.20 2,184.00
0.80 416.00
0.20 104.00
0.20 104.00
0.20 104.00
Case 1:15-cv-01505-BAH Document51-5 Filed 06/11/18 Page 6of 21

Arron Finkhousen, Esq. Page 6

Hours Amount

6/1/2015 Phone consult with T. Pinckett, witness re: Hearing preparation 0.30 170.40
Review and respond to correspondence from T. Parker, Foundation School re: 0.20 113.60
Hearing preparation
Correspondence to T. Pinckett, and A. Graham re: Petitioner's exhibits and 0.40 227.20
hearing preparation
Phone consult with A. Jones, parent re: Hearing preparation 0.30 170.40
Correspondence to T. Chor, Esq., DCPS re: Rejection of DCPS' settlement 0.30 170.40
proposal

6/2/2015 Phone consult with T. Pickett, witness, re: Documents and hearing preparation 0.20 113.60
Review and respond to correspondence from N Hollowell, Shaw Collaborative re: 0.20 113.60
Availability of case workers to testify at DCPS hearing
Review Functional Behavior Assessment from C. Lloyd, social worker Stanton ES 0.40 227.20
Review speech and language evaluation from M. Coper, Stanton ES 0.30 170.40
Meeting with T. Pickett, potential witness re: Hearing preparation 0.40 227.20
Travel to meeting with T. Pickett, potential witness re: Hearing preparation 0.90 295.60
(travel billed at 50% of hourly rate)
Prepare for hearing -- opening statement, revise witness questions, exhibits 3.50 1,988.00

6/3/2015 Phone consult with T. Parker, Foundation School re: Hearing preparation 0.60 340.80
Draft Petitioner's opening statement 2.50 1,420.00
Review correspondence from C. Carron, Hearing Officer re: Hearing protocols 0.20 113.60
Phone consuit with A. Graham, truancy officer re: Schoo! observations 0.30 170.40
Draft witness questions and direct exam questions of Petitioner 1.20 681.60
Phone consult with T. Pickett, family case worker re: Hearing preparation 0.30 170.40
Prepare for hearing - review of all exhibits 3.90 2,215.20

6/4/2015 Meeting with A. Jones, parent re: Hearing preparation 1.30 738.40
Prepare direct exam questions of parent and T. Pickett, witness 2.90 1,647.20
Phone consult with T. Pickett, witness re: Hearing preparation 0.30 170.40
Travel to/from office/Petitioner's home to attend meeting with parent re: Hearing 1.80 511.20

preparation (travel billed at 50% of hourly rate)
Case 1:15-cv-01505-BAH Document51-5 Filed 06/11/18

Page 7 of 21

Arron Finkhousen, Esq. Page 7
Hours Amount
6/4/2015 Phone consult with T. Parker, Foundation Schoo! re: Hearing preparation 0.30 170.40
Finalize opening statement 1.20 681.60
6/5/2015 Review exhibits and witness questions to prepare for hearing 1.00 568.00
Attend hearing 3.50 1,988.00
Post-hearing meeting with A. Jones, parent 0.30 170.40
Review and respond to correspondence from T. Parker, Foundation School re: 0.30 170.40
Hearing preparation
Travel to/from office/ hearing at D.C. Office of Dispute Resolution (travel billed at 2.10 596.40
50% of hourly rate)
6/9/2015 Phone consult with A. Jones, parent re: DCPS' failure to provide copy of report 0.30 170.40
from psychological evaluation review
Correspondence to D. Lyons, Stanton ES re: Need for DCPS to provide report 0.20 113.60
from DCPS psychological review

6/10/2015 Review correspondence from D. Lyons, Stanton ES re: Report from DCPS 0.20 113.60
psychological evaluation and school meeting

6/12/2015 Review and respond to correspondence from D. Lyons, Stanton ES re: 0.20 113.60
Re-evaluations
Review correspondence from C. Carron, Hearing Officer re: 2nd day of due 0.20 113.60
process hearing

6/14/2015 Prepare for 2nd day of hearing 1.00 568.00
Phone consult with A. Jones, parent re: Preparation for 2nd day of hearing 0.30 170.40

6/15/2015 Attend 2nd day of hearing at D.C. Office of Dispute Resolution 3.00 1,704.00
Post-hearing meeting with A. Jones, parent 0.30 170.40
Travel to/from office/D.C. Office of Dispute Resolution to attend 2nd day of 2.20 624.80
hearing (travel billed at 50% of hourly rate)

6/26/2015 Draft and finalize request for transcript from Due Process Hearing 0.30 170.40
Phone consult with A. Jones, parent re: Hearing Officer Determination and IEP 0.20 113.60
meeting ordered by Hearing Officer Determination
Correspondence to M. Smith, DCPS CCM re: IEP meeting ordered by Hearing 0.20 113.60

Officer Determination
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 8of 21

Arron Finkhousen, Esq.

6/28/2015

6/30/2015

7/12/2015

7/4/2015

7/9/2015

7/22/2015

7/23/2015

7/24/2015

Review and respond to correspondence from T. Parker, Foundation School re:
Hearing Officer Determination

Review 77 page Hearing Officer Determination
Correspondence to A. Jones, parent re: Hearing Officer Determination

Review and respond to correspondence from M. Smith, DCPS CCM re: IEP
meeting ordered by Hearing Officer Determination

Review correspondence from D. Lyons, Stanton ES re: IEP meeting ordered per
Hearing Officer Determination

Correspondence to A. Jones, parent re: IEP meeting ordered per Hearing Officer
Determination

Correspondence to M. Smith, DCPS CCM re: IEP meeting ordered per Hearing
Officer Determination

Phone consult to A. Jones, parent re: independent evaluation ordered per
Hearing Officer Determination

Correspondence to T. Chor, Esq., DCPS re: Independent evaluation ordered per
Hearing Officer Determination

Review correspondence from M. Smith, DCPS CCM re: Transportation for
independent evaluation ordered per Hearing Officer Determination

Correspondence to M. Smith, DCPS CCM re: 7/22 IEP meeting ordered per
Hearing Officer Determination

Review correspondence from M. Smith, DCPS CCM re: 7/22/15 IEP meeting
ordered per Hearing Officer Determination

Phone consult with A. Jones, parent re: IEP meeting ordered per Hearing Officer
Determination

Review file to prepare for IEP meeting ordered per Hearing Officer Determination
Attend IEP meeting at Stanton ES ordered per Hearing Officer Determination

Travel to/from office/ Stanton ES to attend IEP meeting ordered per Hearing
Officer Determination (travel billed at 50% of hourly rate)

Correspondence to M. Zimmitti, Ph.D. re: Independent psychological evaluation
ordered per Hearing Officer Determination

Review and respond to correspondence from M. Zimmitti, Ph.D. re: Independent
psychological evaluation ordered per Hearing Officer Determination

Page 8
Hours Amount
0.30 170.40
1.20 681.60
0.40 227.20
0.20 113.60
0.20 113.60
0.30 170.40
0.20 113.60
0.30 170.40
0.20 - 113.60
0.20 113.60
0.20 113.60
0.20 113.60
0.20 113.60
0.70 397.60
3.50 1,988.00
2.00 568.00
0.20 113.60
0.20 113.60
Case 1:15-cv-01505-BAH Document51-5 Filed 06/11/18 Page 9 of 21

Arron Finkhousen, Esq.

7/24/2015

7/31/2015

Review and respond to 2nd correspondence from M. Zimmitti, Ph.D. re:
Independent psychological evaluation ordered by per Hearing Officer
Determination

Review correspondence from D. Lyons, Stanton ES re: Safety plan as part of IEP
ordered per Hearing Officer Determination

8/3/2015 Attend rescheduled IEP meeting at Stanton ES ordered per Hearing Officer

8/4/2015
8/5/2015

8/6/2015

8/7/2015

8/10/2015

Determination

Review safety plan developed by DCPS as ordered per Hearing Officer
Determination

Travel to/from office/Stanton ES to attend IEP meeting ordered via Hearing
Officer Determination (travel billed at 50% of hourly rate)

Review correspondence and notes from IEP meeting from M. Smith, DCPS CCM

Review IEP meeting notes from M. Smith, DCPS CCM per Hearing Officer
Determination

Review correspondence from D. Lyons, Stanton ES re: IEP meeting notes from
IEP meeting ordered per Hearing Officer Determination

Review and respond to correspondence from K. Conaboy, clinician re:
Independent psychological evaluation ordered per Hearing Officer Determination

Phone consult with M. Sherman, Registrar at Kramer MS re: Piacement per
Hearing Officer Determination

Correspondence to M. Smith, DCPS CCM, re: Inaccuracies in IEP meeting
notes and need for copies of finalized documents

Review correspondence from K. MacFarland, DCPS CCM re: Need for
compliance with Hearing Officer Determination

Review placement letter from K. MacFarland, DCPS CCM for SY 2015-2016 re:
New school placement ordered per Hearing Officer Determination

Phone consult with A. Jones, parent re: Placement at Kramer MS per Hearing
Officer Determination

Phone consult with Ms. Abby, Kramer MS re: School registration for new
students

Phone consult with A. Jones, parent re: School registration for new students

2nd phone consult with A. Jones, parent re: New school placement ordered per
Hearing Officer Determination

Page 9
Hours __ Amount
0.20 113.60
0.20 113.60
1.80 1,022.40
0.40 227.20
1.20 340.80
0.30 170.40
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Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 10 of 21

Arron Finkhousen, Esq.

8/11/2015 Phone consuit with Ms. Walker, Kramer MS re: Need to meet with SPED
coordinator re: Inability of DCPS to implement IEP at Kramer MS as ordered per
Hearing Officer Determination

Correspondence to Ms. Walker, Kramer MS re: IEP meeting to review proposed
placement at Kramer MS as ordered per Hearing Officer Determination

Review and respond to correspondence from J. Walters, Kramer MS re: DCPS'
proposed school placement for SY 2015-2016

8/12/2015 Phone consult with J. Walters, Kramer MS re: School placement proposed by
DCPS central office per Hearing Officer Determination

8/17/2015 Correspondence to J. Walters, Kramer MS re: Need for class schedule and
parent meeting to review proposed school placement as ordered per Hearing
Officer Determination

8/18/2015 Correspondence to J. Walters, Kramer MS re: Need for class schedule and need
for compliance with Hearing Officer Determination

8/19/2015 Review and respond to correspondence from J. Walters, Kramer MS re: Class
schedule and school placement ordered per Hearing Officer Determination

8/21/2015 Phone consult with A. Jones, parent re: DCPS' proposed school placement for
SY 2015-2016 as ordered per Hearing Officer Determination

8/25/2015 Correspondence to K. Conaboy, clinician re: Independent psychological
evaluation ordered per Hearing Officer Determination

8/27/2015 Phone consult with A. Jones, parent re: DCPS’ schoo! placement for SY
2015-2016 as ordered per Hearing Officer Determination

Review correspondence from K. Conaboy, clinician re: Independent
psychological evaluation ordered per Hearing Officer Determination

8/31/2015 Review and respond to correspondence from K. MacFarland, DCPS CCM re:
Independent psychological evaluation ordered per Hearing Officer Determination

9/1/2015 Review and respond to correspondence from K. Conaboy, clinician re:
Independent psychological evaluation ordered per Hearing Officer Determination

9/8/2015 Review and respond to correspondence from K. MacFarland DCPS, CCM re:
Independent psychological evaluation ordered per Hearing Officer Determination

Phone consult with A. Jones, parent re: Recent suspension and safety plan as
ordered per Hearing Officer Determination

Correspondence to J. Walters, Kramer MS and D. Dykes, Kramer MS re: School
issues and need for IEP meeting to determine appropriate school placement and
develop safety plan as ordered per Hearing Officer Determination

Page 10
Hours __ Amount
0.20 113.60
0.30 170.40
0.20 113.60
0.30 170.40
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Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 11 of 21

Arron Finkhousen, Esq. Page 11
Hours Amount
9/8/2015 Correspondence to K. Conaboy, clinician re: Funding for Independent 0.30 170.40
psychological evaluation ordered per Hearing Officer Determination
9/10/2015 Review correspondence from K. Conaboy, clinician re: independent 0.20 113.60
psychological evaluation ordered per Hearing Officer Determination
Correspondence to J. Walters, Kramer MS and D. Dykes, Kramer MS re: Need 0.30 170.40
for IEP meeting to develop safety plan as ordered via Hearing Officer
Determination
Correspondence to K. Conaboy, clinician re: Remaining school records needed 0.50 284.00
for independent psychological evaluation ordered per Hearing Officer
Determination
Phone consult with B. Brown, Kramer MS re: School placement issues and need 0.30 170.40
for safety plan as ordered per Hearing Officer Determination
9/11/2015 Review and respond to correspondence from J. Walters, Kramer MS re: 0.40 227.20
Services ordered per Hearing Officer Determination
9/14/2015 Phone consult with Kramer MS re: Need for schoo! meeting to develop safety 0.30 170.40
plan as ordered per Hearing Officer Determination
Review and respond to correspondence from J. Walters, Kramer MS re: Need 0.20 113.60
for copy of class schedule and safety plan as ordered per Hearing Officer
Determination
Phone consult with R. Smith, principal Kramer MS re: Need for IEP meeting and 0.30 170.40
more responsiveness of J. Walters, special education coordinator at Kramer MS
re: Development of safety plan as ordered per Hearing Officer Determination
Review and respond to 2nd correspondence to J. Walters, special education 0.20 113.60
coordinator, Kramer MS re: Class schedule and safety plan as ordered per
Hearing Officer Determination
Phone consult with A. Jones, parent re: IEP meeting to develop/review safety 0.20 113.60
plan as ordered per Hearing Officer Determination
Review and respond to 3rd correspondence to J. Walters, special education 0.20 113.60
coordinator, Kramer MS re: IEP meeting to develop/review safety plan as
ordered per Hearing Officer Determination
Review and respond to 4th correspondence from J. Waiters, special education 0.20 113.60
coordinator Kramer MS re: Need for copy of class schedule
Review and respond to correspondence from K. Conaboy, clinician re: 0.20 113.60
Independent psychological evaluation ordered per Hearing Officer Determination
Review and respond to 2nd correspondence from K. Conaboy, clinician re: 0.20 113.60

Classroom observation as part of independent psychological evaluation ordered
per Hearing Officer Determination
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 12 of 21

Arron Finkhousen, Esq.

9/14/2015

9/15/2015

9/17/2015

9/18/2015

9/22/2015

9/28/2015

Review CV from C. Golden, Ph.D. re: Independent psychological evaluation
ordered per Hearing Officer Determination

Research DCPS 6th grade curriculum requirements and grading policies re: Full
time special education placement ordered per Hearing Officer Determination but
not being offered by DCPS

Attend meeting with special education coordinator at Kramer MS to review safety
plan and class schedule as ordered per Hearing Office Determination

Correspondence to J. Walters, special education coordinator, Kramer MS and
R. Smith, principal Kramer MS re: Need for class schedule that provides classes
in special education as ordered per Hearing Officer Determination

Travel to/from office/Kramer MS to review safety plan and class schedule as
ordered per Hearing Officer Determination (travel billed at 50% of hourly rate)

Review and respond to correspondence from R. Smith, principal Kramer MS re:
Need for class schedule and classes to reflect full time special education
placement ordered per Hearing Officer Determination

Phone conf: A. Jones, parent re: Independent psychological evaluation ordered
per Hearing Officer Determination

Correspondence to K. Conaboy, clinician re: Independent psychological
evaluation ordered per Hearing Officer Determination

Review and respond to correspondence from Dr. Golden, Ph.D. re:
Psychological evaiuation ordered per Hearing Officer Determination

Review and respond to correspondence from Dr. Golden, Ph.D. re: Independent
psychological evaluation ordered per Hearing Officer Determination

Correspondence to K. Conaboy clinician re: Parent authorization for
psychological evaluation ordered per Hearing Officer Determination

Review correspondence from K. Conaboy clinician re: Psychological evaluation
ordered per Hearing Officer Determination

Review and respond to correspondence from T. Parker, The Foundation School
re: Placement availability

Review and respond to 2nd correspondence from T. Parker, The Foundation
School re: Possible school placement

Meeting with A. Jones, parent re: Psychological evaluation ordered per Hearing
Officer Determination

Correspondence to Ms. Walters and Mr. Smith, Kramer Middle Schoo! re: Need
for a copy of class schedule and documentation that it complies with Hearing
Officer Determination

Page 12
Hours __ Amount
0.20 113.60
2.00 1,136.00
1.30 738.40
0.20 113.60
2.00 568.00
0.30 170.40
0.20 113.60.
0.20 113.60
0.20 113.60
0.30 170.40
0.30 170.40
0.20 113.60
0.20 113.60
0.20 113.60
0.40 227.20
0.20 113.60
Case 1:15-cv-01505-BAH Document51-5 Filed 06/11/18 Page 13 of 21

Arron Finkhousen, Esq.

9/28/2015

9/29/2015

10/1/2015

10/5/2015

10/7/2015

10/8/2015

10/30/2015

Correspondence to T. Parker, The Foundation School re: Availability of schoo!
placement at The Foundation School

Review correspondence from R. Smith, Kramer MS re: Student's class schedule

Review and respond to correspondence from J. Walters, Kramer MS re: Need
for school meeting to review student's placement because placement offered by
DCPS did not provide for full time special education services as ordered per
Hearing Officer Determination

Phone conf: A. Jones, parent re: Need for school meeting to review school
placement because placement did not provide for full time special education
services as ordered per Hearing Officer Determination

2nd phone conf: A. Jones, parent re: Independent psychological evaluation
ordered per Hearing Officer Determination

Phone conf: A. Jones, parent re: Acting out conduct at school due to school
placement that did not comply with placement that was ordered per Hearing
Officer Determination

Review and respond to correspondence from J. Walters, Kramer MS re: School
meeting due to placement not in compliance with placement ordered per Hearing
Officer Determination

Phone conf: A. Jones, parent re: Recent suspension due to placement that does
not comply with placement that was ordered per Hearing Officer Determination

Correspondence to V. Johnson, Kramer MS re: Need for meeting to discuss
DCPS' school placement that does not comply with placement ordered per
Hearing Officer Determination

Review and respond to correspondence from C. Golden, Ph.D. re: Independent
psychological evaluation ordered per Hearing Officer Determination

Phone conf: A. Jones, parent re: Schoo! placement that does not comply with
placement ordered per Hearing Officer Determination

Correspondence to V. Johnson, Kramer MS re: Need to conduct independent
independent psychological evaluation ordered per Hearing Officer Determination

Review correspondence from J. Walters, Kramer MS re: Independent
psychological evaluation ordered per Hearing Officer Determination

Correspondence to C. Golden, Ph.D. re: School requirement that testing for
independent psychological evaluation ordered per Hearing Officer Determination
be scheduled in advance

Phone conf: A. Jones, parent re: Case status and psychological evaluation
ordered per Hearing Officer Determination

Page 13
Hours Amount
0.30 170.40
0.20 113.60
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Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 14 of 21

Arron Finkhousen, Esq.

11/3/2015

11/18/2015

11/19/2015

11/20/2015

11/23/2015

12/4/2015

1/5/2016

Review and respond to correspondence from |. Johnson, DCPS CCM re: Status
of psychological evaluation ordered per Hearing Officer Determination

Correspondence to T. Parker, The Foundation School re: Possible school
placement at The Foundation School

2nd correspondence to T. Parker, The Foundation School re: Possible school
placement at The Foundation School

Phone conference with A. Jones, parent re: Status of placement at The
Foundation School

Review and respond to correspondence from A. Finkhousen, Esq. AAG re:
Placement letter from DCPS for school placement at The Foundation School

Review placement letter from DCPS for placement at The Foundation School

Review and respond to 2nd correspondence from A. Finkhousen, Esq. AAG re:
Transition meeting with The Foundation School requested by DCPS

Review and respond to correspondence from T. Parker ,The Foundation School
re: School placement and enrollment at The Foundation School

Review and respond to correspondence from K. McFarland, DCPS CCM re:
School placement at The Foundation Schoo! and transportation

Phone conference with A. Jones, parent re: School placement at The Foundation
School

Review correspondence from K. McFarland, DCPS CCM re: Transportation for
start of school placement at The Foundation School

Review and respond to correspondence from K. McFarland, DCPS CCM re:
DCPS school placement at The Foundation School and transportation

Phone conference with A. Jones, parent re: School enrollment at The Foundation
School

Review and respond to 2nd correspondence from K. McFarland, DCPS CCM re:
Placement at The Foundation School

Phone conf: A. Jones, parent re: Case status

Review and respond to correspondence from I. Johnson, DCPS CCM re:
Independent psychological evaluation ordered per Hearing Officer Determination

Correspondence to K. Conaboy, clinician re: Independent psychological
evaluation ordered per Hearing Officer Determination

Phone conf: A. Jones, parent re: Independent psychological evaluation ordered
per Hearing Officer Determination

Page 14
Hours Amount
0.20 113.60
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0.20 113.60
0.20 113.60
0.30 170.40
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 15 of 21

Arron Finkhousen, Esq. Page 15

Hours Amount

1/5/2016 Review and respond to correspondence from K. Conaboy, clinician re: 0.20 113.60
Independent psychological evaluation ordered per Hearing Officer Determination
1/15/2016 Review and respond to correspondence from |. Johnson, DCPS CCM re: 0.20 113.60
Independent psychological evaluation ordered per Hearing Officer Determination
Phone conf: A. Jones, parent re: Independent psychological evaluation ordered 0.20 113.60
per Hearing Officer Determination
Correspondence to A. Jones, parent re: Independent psychological evaluation 0.30 170.40
ordered per Hearing Officer Determination
1/29/2016 Review and respond to correspondence from K. Conaboy, clincian re: 0.20 113.60
Independent psychological! evaluation ordered per Hearing Officer Determination
Phone conf: A. Jones, parent re: Independent psychological evaluation ordered 0.20 113.60
per Hearing Officer Determination
1/30/2016 Review and respond to correspondence from Dr. Golden, Ph.D. re: Independent 0.20 113.60
psychological evaluation ordered per Hearing Officer Determination
2/3/2016 Correspondence to K. Conaboy, clinician re: Completion of independent 0.20 113.60
evaluation ordered per Hearing Officer Determination due to refusal of student to
cooperate
2/9/2016 Review and respond to correspondence to K. Conaboy, clinician re: Completion 0.20 113.60

of independent evaluation ordered per Hearing Officer Determination due to
student's noncompliance

2/10/2016 Correspondence to T. Parker, Foundation School re: Need for IEP meeting 0.20 113.60
ordered per Hearing Officer Determination

Review correspondence from T. Parker, Foundation School re: Need for IEP 0.20 113.60
meeting ordered per Hearing Officer Determination

Review and respond to correspondence from K. Conaboy, re: Independent 0.20 113.60
psychological evaluation ordered per Hearing Officer Determination

Phone conf: A. Jones, parent re: Need for student to comply with psychological 0.30 170.40
evaluation ordered per Hearing Officer Determination

2/11/2016 Review and respond to correspondence from |. Johnson, DCPS CCM re: Report 0.20 113.60
from independent psychological evaluation ordered per Hearing Officer
Determination

Review correspondence from C. Golden, Ph.D. re: Independent psychological 0.20 113.60
evaluation ordered per Hearing Officer Determination

Review and respond to correspondence from S. Morlock, Foundation School re: 0.30 170.40
IEP meeting ordered per Hearing Officer Determination
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 16 of 21

Arron Finkhousen, Esq.

2/12/2016

2/15/2016

2/16/2016

2/18/2016

2/19/2016

2/22/2016

2/23/2016

3/11/2016

Review correspondence from S. Morlock, Foundation School re: IEP meeting
ordered per Hearing Officer Determination

Correspondence to S. Morlock, Foundation School re: Upcoming IEP meeting
ordered per Hearing Officer Determination

Review correspondence from S. Morlock, Foundation School re: Upcoming IEP
meeting ordered per Hearing Officer Determination

Review and respond to correspondence from J. Banks, DCPS re: IEP meeting
on 2/19 to revise IEP ordered per Hearing Officer Determination

Phone conf: A. Jones, parent re: IEP meeting at Foundation School to revise IEP
per Hearing Officer Determination

Attend IEP meeting at Foundation School ordered per Hearing Officer
Determination

Review correspondence from J. Banks, DCPS CCM re: Proposed amendment to
IEP

Travel to/from office/Foundation School for IEP meeting ordered per Hearing
Officer Determination (travel billed at 50% of hourly rate)

Review revised IEP from J. Banks, DCPS CCM re: Increase in specialized
instruction ordered per Hearing Officer Determination

Correspondence to J. Banks, DCPS CCM re: Errors in proposed amended IEP

Review and respond to correspondence from J. Banks, DCPS CCM re:
Amendment to IEP increasing specialized instruction as ordered per Hearing
Officer Determination

Review revised IEP with increased specialized instruction as ordered per Hearing
Officer Determination

Review and respond to correspondence from |. Johnson, DCPS CCM re: Report
from psychological evaluation ordered per Hearing Officer Determination

Review report from psychological evaluation ordered per Hearing Officer
Determination

Correspondence to K. Conaboy, clinician re: Error in report from psychological
evaluation ordered per Hearing Officer Determination

Review correspondence from K. Conaboy, clinician re: Error in report from
psychological evaluation ordered per Hearing Officer Determination

Correspondence to J. Banks, DCPS re: Need for finalized IEP as ordered per
Hearing Officer Determination

Page 16
Hours Amount
0.20 113.60
0.20 113.60
0.20 113.60
0.20 113.60
0.20 113.60
1.50 852.00
0.20 113.60
2.00 568.00
0.40 227.20
0.40 227.20
0.20 113.60
0.30 170.40
0.20 113.60
0.50 284.00
0.30 170.40
0.20 113.60
0.30 170.40
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 17 of 21

Arron Finkhousen, Esq.

3/14/2016

3/16/2016

3/22/2016

3/23/2016

3/25/2016

3/29/2016

4/6/2016

4/7/2016

4/12/2016

4/18/2016

Review correspondence from K. Conaboy, clinician re: Corrected report from
psychological evaluation ordered per Hearing Officer Determination

Review corrected report from psychological evaluation ordered per Hearing
Officer Determination

Review and respond to correspondence from J. Banks, DCPS re Changes to IEP
ordered per Hearing Officer Determination

Review amended IEP to ascertain compliance with requirements of Hearing
Officer Determination

Correspondence to A. Jones, parent re: Case status and [EP meeting ordered
per Hearing Officer Determination

Review and respond to correspondence from I. Johnson, DCPS CCM re: Report
from psychological evaluation ordered per Hearing Officer Determination

Phone consult with A. Jones, parent re: Psychological evaluation per Hearing
Officer Determination

Correspondence to |. Johnson, DCPS CCM re: Report from psychological
evaluation ordered per Hearing Officer Determination

Review and respond to correspondence from |. Johnson, DCPS CCM re: IEP
meeting ordered per Hearing Officer Determination

Review correspondence from J. Banks, DCPS re: IEP meeting ordered per
Hearing Officer Determination

Review correspondence from E. Pandya, DCPS CCM re: IEP meeting ordered
per Hearing Officer Determination

Phone consult with A. Jones, parent re: IEP meeting ordered per Hearing Officer
Determination

Correspondence to E. Pandya, DCPS, CCM re: Availability to attend IEP meeting
ordered per Hearing Officer Determination

Review and respond to correspondence from E. Pandya, DCPS CCM re:
Meeting to review report from psychological evaluation ordered per Hearing
Officer Determination

Correspondence to E. Pandya, DCPS CCM re: Meeting to review report from
psychological evaluation ordered per Hearing Officer Determination

Correspondence to A. Jones, parent re: Meeting to review report from
psychological evaluation ordered per Hearing Officer Determination

Phone consult with A. Jones, parent re: IEP meeting to review the psychological
evaluation ordered per Hearing Officer Determination

Page 17
Hours Amount
0.20 113.60
0.30 170.40
0.20 113.60
0.30 170.40
0.40 227.20
0.20 113.60
0.20 113.60
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0.30 170.40
0.20 113.60
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 18 of 21

Arron Finkhousen, Esq. Page 18

Hours Amount

4/18/2016 Attend IEP meeting at The Foundation School to review the psychological 1.50 852.00
evaluation ordered per Hearing Officer Determination

Travel to/from office/The Foundation School for IEP meeting to review the 2.00 568.00
psychological evaluation ordered per Hearing Officer Determination (travel billed
at 50% of houriy rate)

4/19/2016 Review correspondence from E. Pandya, DCPS CCM re: IEP issues 0.20 113.60

5/10/2016 Review correspondence from E. Pandya, DCPS CCM re: IEP meeting/revisions 0.20 113.60
ordered per Hearing Officer Determination

5/13/2016 Review updated educational records and file to prepare for IEP meeting ordered 0.50 284.00
per Hearing Officer Determination

5/16/2016 Phone consult with A. Jones, parent re: IEP meeting ordered per Hearing Officer 0.20 113.60
Determination
Attend IEP meeting at The Foundation School as ordered per Hearing Officer 1.00 568.00
Determination
Travel to/from office/The Foundation School to attend IEP meeting ordered per 1.90 539.60
Hearing Officer Determination (travel billed at 50% of hourly rate)

5/19/2016 Review correspondence from E. Pandya, DCPS CCM re: IEP ordered per 0.20 113.60
Hearing Officer Determination
Review revised IEP, BIP, and IEP meeting notes per IEP meeting ordered per 0.60 340.80
Hearing Officer Determination
Correspondence to E. Pandya, DCPS CCM re: Errors in IEP meeting notes and 0.40 227.20
[EP

5/25/2016 Review and respond to correspondence from E. Pandya, DCPS CCM re: Need 0.20 113.60
for IEP meeting as ordered per Hearing Officer Determination

5/28/2016 Prepare petition for attorney fees and cost 1.00 154.00
(Paralegal)

8/30/2016 Review correspondence from S. Cogdell, DCPS CCM re: Signatures on revised 0.20 116.20
iEP that was ordered per Hearing Officer Determination

4/12/2017 Review and respond to correspondence from C. Ballard, DCPS CCM re: 0.30 174.30
Authorization for Independent Education Evaluations per Court Order

4/22/2017 Review correspondence from DCPS re: Court ordered independent evaluations 0.20 116.20
Review letter from DCPS authorizing independent evaluations per Court Order 0.20 116.20

9/12/2017 Phone conference A. Jones, parent re: Status of evaluations ordered by Court 0.20 120.40
Case 1:15-cv-01505-BAH Document51-5- Filed 06/11/18 Page 19 of 21

Arron Finkhousen, Esq. Page 19

Hours Amount

9/13/2017 Correspondence to A. Finkhousen, Esq. AAG re: schedule for evaluations 0.20 120.40
ordered by the Court
1/8/2018 Correspondence to A. Finkhousen, Esq. AAG re: Settlement proposal 0.40 240.80
1/9/2018 Correspondence to A. Finkhousen, Esq. AAG re: Court ordered Status Report 0.20 120.40
Phone conference with A. Finkhousen, Esq. re: Settlement proposal 0.20 120.40
2/8/2018 Phone consult with A. Finkhousen Esq. AAG re: possible settlement 0.20 120.40
2/11/2018 Review petition for attorney fees and costs 1.50 903.00
2/27/2018 Correspondence to A. Finkhousen, Esq. AAG re: Possible settlement proposal 0.20 120.40
Review correspondence from A. Finkhousen Esq. AAG re: Possible settlement 0.20 120.40
of outstanding issues
3/1/2018 Phone conference with A. Jones, parent re: Case status 0.30 180.60
Correspondence to A. Finkhousen Esq. AAG re: Case status 0.20 120.40
Review correspondence from A. Finkhousen, Esg. AAG re: Possible case 0.20 120.40
settlement
4/9/2018 Review and respond to correspondence from A. Finkhousen, Esq. AAG re: Court 0.20 120.40
ordered report
Review draft Court Report from A. Finkhoussen, Esq. AAG 0.20 120.40
Phone conf: A. Jones parent re: Case status and Student's availability for testing 0.20 120.40
5/2/2018 Correspondence to A. Finkhousen, Esq. AAG re: Rule 7 inquiry as to 0.20 120.40
Defendant's consent to Plaintiffs Motion for Attorney Fees
Review file to begin preparing Plaintiffs Motion for Attorney Fees 0.50 301.00
Review and respond to correspondence from A. Finkhousen, Esq. AAG re: 0.20 120.40
Plaintiff's Motion for Attorney Fees
5/7/2018 Correspondence to A. Finkhousen Esq. AAG re: Court ordered Status Report 0.03 20.07
5/8/2018 naa correspondence and proposed Status Report from A. Finkhousen, Esq. 0.30 180.60
6/7/2018 Review and respond to correspondence from A. Finkhousen, Esq. AAG re: Court 0.20 120.40

ordered Status Report
Draft Plaintiffs Motion for Attorney Fees 2.50 1,505.00
6/10/2018 Draft Petitioner's Motion for Attorney Fees and Costs 5.50 3,311.00
Case 1:15-cv-01505-BAH Document51-5 Filed 06/11/18 Page 20 of 21

Arron Finkhousen, Esq.

6/11/2018

2/11/2018

Draft Petitioner's Motion for Attorney Fees and Costs

For professional! services rendered

Additional Charges :

Fax
(20 pages @ 0.25 per page)

6/5/15 Parking to attend hearing at D.C. Office of Dispute Resolution $9.00
(receipt attached)

6/15/15 Parking to attend hearing at D.C. Office of Dispute Resolution $9.00
(receipt attached)

Copies (1939 pages @ 0.25 per page)

Postage

Mileage ( 506 @ .54 per mile)

5/14/15 44 miles to/from office/Stanton ES for manifestation meeting

6/2/15 20 miles to/from office/7th Street NW for hearing preparation and
meeting with T. Pickett, witness

6/4/15 46 miles to/from office/Jones' home for meeting with Jones, parent to
prepare for hearing

6/5/15 36 miles to/from office/Office of Dispute Resolution to attend hearing

6/15/15 36 miles to/from office/Office of Dispute Resolution to attend 2nd day of
hearing

7/22/15 44 miles to/from Stanton ES to attend IEP meeting
8/3/15 44 miles to/from office/Stanton ES to attend IEP meeting
9/15/15 44 miles to/from office/Kramer MS to attend safety plan meeting

2/19/16 64 miles to/from office/Foundation School, Landover, MD to attend IEP
meeting

4/18/16 64 miles to/from office/Foundation School to review report from
psychological evaluation

5/16/16 64 miles to/from office/Foundation School to attend IEP meeting

Total costs

Page 20

Hours Amount

3.00 1,806.00

166.33 $86,934.57
Qty

20 5.00

2 18.00

1939 484.75

1 23.37

506 273.24

$804.36
Case 1:15-cv-01505-BAH Document 51-5

Arron Finkhousen, Esq.

Total amount of this bill

Balance due

Filed 06/11/18 Page 21 of 21

Page 21

Amount
$87,738.93

$87,738.93
